EXHIBIT 2

Student Declarations

Case 5:18-cV-00388-TES Document 28-2 Filed 11/14/18 Page 2 of 37

 

DECLARATION OF
I,_, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at wm in may
'Tm . (School, city, state) \“~\Q- C`_><'~c~_~.v*c§t‘<€.

3. lam enroued in the wgn 'TC;;\'"\
program.

4. Upon graduation, I will receive a ML(___

:e-r~<-\ Y'\`\<;:;m'\-C\

5. I expect to complete my program in BQE', \
'2 f`\\C\

6. To pay for my education, I have utilized Federal student aid programs,
including _§_'Q_\A_Q,g_\r\&¢-. °~ O\m '~F“{\\ c-¢ squch x-&...
7. l have/have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

wm -;=-l\c\Jl \"::c;\\

 

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Case 5:18-cV-00388-TES Document 28-2 Filed 11/14/18 Page 3 of 37

8. If given the choice, I would choose to complete my degree at
Wlege, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, I would like add the following:

M¢_mr~r\ \ c rr\'=-` c:s\--c-\\»~\ \C:, +C>
MMW\N \{ “*~

., ___ h __ c.\,

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

[Reminder of page intentionally left blank]

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Case 5:18-cV-OO388-TES Document 28-2 Filed 11/14/18 Page 4 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated: November §=k , 2018

 

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Case 5:18-cV-OO388-TES Document 28-2 Filed 11/14/18 Page 5 of 37

   

, hereby declare and affirm the following:

l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. I arn a current student at y'\|gl[ lICLI`QllB in CdUmb|Q ,

l
LSDUljn Catdin£l, (School, City, _$fatf=) _ ____ _._ _____
3. l am enrolled in the/E>U§l Y\CSS 'PrO\£j\an/\

program.

4. Upon graduation, I will receive a ASE)G'[`;\CH €

D€.grr,€ `ir\’l?xtsimss

5. l expect to complete my program in DTC- £Oig

 

 

6. To pay for my education, I have utilized Federal student aid programs,
including D¢ rail Sind eni LO¢;m
7. I have@(€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cV-OO388-TES Document 28-2 Filed 11/14/18 Page 6 of 37

8. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping rny education and receiving a discharge of my
student loans. YCS

9. In addition, l would like add the following:
'I would lll¢€’/ iv (,`Oi’iii'nu€ mm degree O`Li' Vi\:a,`\ri¢a

_____ J
lillian lQC.QQnSr; _L Or)lr§ have mg mac doss

 

 

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily YL'.S : mg FCC Nl l'l'\ `H'\ 6
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Case 5:18-cV-OO388-TES Document 28-2 Filed 11/14/18 Page 7 of 37

I declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

 

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Case 5:18-cV-OO388-TES Document 28-2 Filed 11/14/18 Page 8 of 37

DECLARATION OF

   

, hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. l am a current student at l jll`,jl§] IRO._ COU@!*' CQMlEll)l`Q,,

 

 

g ..(.School, cityrstate).- -. . . _

3. l am enrolled in the /lAQC`\f(/Ll [`)L§"§`l`$_-__l[_ ,;m-F

program
4. open graduation 1 will reeeive a C<<§-l-ll\. ‘ch»ll 'O/)

 

5. l expect to complete my program in CQ lll{§|ll'hj

 

6. To pay for my education, I have utilized Federal student aid programs,

including DQQS® /l Slllcl€lll lOC\MS , gluel.»wf\l 95?3!“3

7. IWCHCB one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-OO388-TES Document 28-2 Filed 11/14/18 Page 9 of 37

8. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my
student loans.

9 In addition, would like add the following:

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C\fl de O\C\@oz H\r_ imsl_mrleov

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it ti'eely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 10 of 37

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November 343, 2018

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 11 of 37

DECLARATION OF
I, -_, hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at meade @{|g¢ in (;Q[,,m|m'¢, ,

_____-._§_.Q:(.Schoolrcity,.state) ____... ......__H_ _.... -r. . .__..- ________

3. lamenrolledinthe SH[Q"CQ¢ f|'gcbmzlag:,

program
4. Upon graduation, I will receive a ‘¢,.+¢
e ~ "r
5. I expect to complete my program in ljg_cgmhgr_‘
ls,. sen

 

6. To pay for my education, I have utilized Federal student aid programs,

including §{é L-,;]j= |3‘,\\ ana EELL gran-l-

7. Ihav€/have noD( Circle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 12 of 37

8. If given the choice, l Would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my

student loans.

9. In addition, l would like add the following:

 

-Fa ar 5 r

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily.

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 13 of 37

I declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 14 of 37

   

hereby declare and affirm the following:
1. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at f§`…j ne lgll-€ in lile

 

3. lam enrolled in the U T€Ckl m
program

4. Upon graduation, I will receive a Q,¢r-l;x§\m,.l»€_ aec
Q,Mpltl;`ag goal ng gggac'lm;lg',[.dg%re€,.

5. l expect to complete my program in ,Sfp_-l£@lg(,r

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6. To pay for my education, l have utilized F ederal student aid programs,
including l eli el <r c st i l 5 l r
7. l have @" (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 15 of 37

8. If given the choice, I would choose to complete my degree at Virginia
Coliege, as opposed to stopping my education and receiving a discharge of my

student loans.

9. In addition, l would like add the following:

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lO. No one has promised or offered me anything in exchange for providing

 

 

 

 

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 16 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 17 of 37

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I, - , hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. I am a current student at Uir\c\lnl»c Ccllw_ in Celdmlnlel ,
v \lJ

 

h____S»_ddl.b_Cn.-_nlinn._(lScl?lt:lnl,_r;ity,_s_tat_e_)____ ________ ____ __ __ __

 

3. Iamenrolled in the Suee_"leac\ '\eo'l“e\e»>\,l
program
4. Upon graduation, I will receive a associates cleared

 

and ctr handle c£- mcclellch

5. I expect to complete my program in gglztdmher 20\5

 

6. To pay for my education, I have utilized Federal Student aid programs,

including Pell cgl-cull-

7. l have.Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-2 Filed 11/14/18 Page 18 of 37

8. lf given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my
student loans.

9. In addition, l would like add the following:

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am howe S\rw\<,é, op t\>u.\v\ trauma tx c'w¢-f-f‘. \o.m 6\ .Sl`n&l¢.~

__+b__ _______ __

 

?`°'*J`\d¢, ah 5¢.&.».>1“'¢_. Qu‘r'\)f"¢-.'T\r'\ig l{?r‘c>::’r-m \¢\&_`_', beam m?[\(£ln\'- c~\-"
line md dr am otherwise clark tunnel am \ week mata totsa;}»
10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 19 of 37

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November \ , 2018

 

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 20 of 37

 

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I, _ hereby declare and attirm the following
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student al ug[§§l]gl_l [(j, lg"€¢-' in [f‘.]l|],jl-j}§»g` IS_,
ldfng NQ§ \C\ . (School, city, state)

3. lam enrolledinthc l}l”l(\lt`\'\(.\ll,ll] lil'(l'\l°nt,l€ll\
program

4. Upon graduation, l will receive a guilt tilf\§l/§
<€tlc\'\\tid\’\ cl€ci\t€t’.-

5. I expect to complete my program in [!]["\yl l§
rolf/l

6. To pay for my education, I have utilized Federal student aid programs,

including 333 _-l(j;'l(`_l‘ ljl ___lC-i[-ll'__l_';. _._-+

7. l@f h ave not (Circle one that applies) received student aid in excess

 

 

of tuition and fees to offset my living cxpcnse-s, including:

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 21 of 37

8. li` given the choiee, I would choose to complete my degree at

l M ll§ College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. iii addition, i would like add die rotating
T li/iL-»€ time i`-~i. ;d\\. mill iili\_\._l¢e(t §§
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l_ mill .‘:>\/\ll limit -l/l' \3€1\,\ lmLL_l)lECt`§€ lt’i 115
tmoi<>\’\ \i\£ \JiO€’l\/Qn`_”\

No one has promised or offered me anything in exchange for providing

 

this statement, l give it freely and voluntarily.

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 22 of 37

l declare under penalty of perjury that the foregoing is true and correct

Dated: November §) l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 23 of 37

 

DECLARATION Qf`
I, -__, hereby declare and affirm the following:
I. I am over twenty-one (21) years of age and otherwise competent to

testify as to thc matters set forth herein. l have personal knowledge of the matters
set forth herein.
2. l am a current student at Uif%lnia EOIKSC in COltlmbU~.> ,
g 3 . (School, eity, state)
3. lam enrolled in the wellman/4 G(](l Sl§SlCM /qdl'}’||/?l'§h"£ll`l`¢*t
program
4. Upon graduation, l will receive a H§SOCI‘R|*C le

_fl_£}t?\l€¢\ §eiece 3 cl mac

 

5. I expect to complete my program in -’L_ »nl_¢g/___
q: swift ___
6. To pay for my education, l have utilized Federal student aid programs,

including ()C\l fmha i"s
j -J
7. wave not (Circ|e one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 24 of 37

8. lt` given the choiee, I would choose to complete my degree at
\l` i College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, I would like add the following:

 

 

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 25 of 37

I declare under penalty of perjury that the foregoing is true and correct.

Dated:November fl ,2018

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 26 of 37

DECLARATION OF

1, ____, hereby declare and aft'tnn the following:

l. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at B»iihi,gmd in CaLQM_Q{Q_\-_'L¢,-_,
]`¢x o s . (School, city, state)

3. Iamenrolledinthe Ll/N P¢.::_,..

program

4. Upon giaduation, l will receive a lim D~_ni al

 

5. I expect to complete my program in guam ash :ng

 

6. To pay for my education, 1 have utilized Federal student aid programs,

including f.. 0 ar\_s_ _
7. l have@'f@ (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-2 Filed 11/14/18 Page 27 of 37

8. If given the choice, I would choose to complete my degree at

§§¢;j|aj!mga} College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. I.n addition, l would like add the following:

 

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lO. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 28 of 37

1 declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 29 of 37

DECLARATION OF

 
  

, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student at §/»'?é{;:¢mz¢l garza/nm
l z .(School,city,state)

3. I am enrolled in the j |/Ag’

program

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4. Upon graduation, l will receive a § ,V//

5. l expect to complete my program in

 

6. To pay for my education, I have utilized F ederal student aid programs,

including leeway /Z»/ 6'// » /§;[ /?,;L;'/

7. 1 havCirc]e one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 30 of 37

8. If given the choice, l Would choose to complete my degree at

Brr'gé£ adch College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. ln addition, would like add following:
M%z…

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 31 of 37

I declare under penalty of perjury that the foregoing is true and correct

Dated: November f , 2018

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 32 of 37

DECLARATION OF

    

 

I, , hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at &j‘g§,:,,gjzl, in CL)¢_'@§_U£L§.
§ x . (School, city, state)

3. 1 am enrolled in the UJ!\)

program.
4. Upon graduation, l will receive a L\}\\)

(\'u‘f)ltn\o~r
5. I expect to complete my program in _MM
201 ‘E> _

6. To pay for my education, l have utilized Federal student aid programs,

including §;,QM E§HO-»mi'

7.1&?¢@ (Circle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 33 of 37

8. If given the choice, l would choose to complete my degree at
&%,il@ Collegc, as opposed to stopping my education and receiving a
discharge of my student loans.

addition, l would like add the following:

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IO. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 34 of 37

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 35 of 37

DECLARATION OF

I, _, hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to

 

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set forth herein.

2. I am a current student at E,"»rg ch lt ,.)t`g` § in K\‘=`"t
_ , L»\%riisii
|§ }§§L § . (School, city, state)

3. lam enrolled in the l _\l l"\l
program

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4. Upon graduation, l will receive a ll \F \l\l

 

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\
5. l expect to complete my program in bimian
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6. To pay for my education, I have utilized Fedcral student aid programs,
including h \,K. /\ l _.»
7. l have/have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 36 of 37

8. If given the ehoice, I would choose to complete my degree at

BWC;\_\N"` ' College, as opposed to stopping my education and receiving a
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discharge of my student loans.

9. In addition, I Would like add the following:

 

 

 

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\;i”f/\Jv C,t 615 5~1» ‘.-» lmtl'»f` if csa it_. in \'Z.')»:r~\_., (`) i.' \t'\/'\,'SLY\'
frye/empou M-‘\.»_./s-. f "L\'tm il ~ 'T l faa . C¢.)\.d -*? ‘t'~l'£)`r'"\ 1

C.u‘m l~ _w\ Al» i§)c¢ cleary C Gk/CQ.»d . "l"v- c 4.»:.] <.\-\ ,c'-l_t,\. /J\ m
C;\'}Wr\ - l\»\;a § if m \@.. ~i a 1a :`.i§§\n -
10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-2 Filed 11/14/18 Page 37 of 37

1 declare under penalty of perjury that the foregoing is true and correctl

Dated: November `, , 2018

 

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